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13   and Individual Defendants
14

15                               UNITED STATES DISTRICT COURT

16                            NORTHERN DISTRICT OF CALIFORNIA

17                                          SAN JOSE DIVISION

18

19 ARIEL ABITTAN,                                     Case No.: 5:20-CV-09340-NC

20                        Plaintiff,                  STIPULATION RE CONTINUANCE
                                                      OF CASE MANAGEMENT
21         v.                                         CONFERENCE; ORDER

22 LILY CHAO (a/k/a TIFFANY CHEN, a/k/a
   YUTING CHEN), DAMIEN DING (a/k/a                   Judge:    Hon. Nathanael M. Cousins
23 DAMON LEUNG, a/k/a DAMIEN RAY
   DONOVAN, a/k/a TAO DING), YUTING
24 CHEN, TEMUJIN LABS INC. (a Cayman

25 Islands corporation), and Does 1-100,
   inclusive,
26                        Defendants.

27

28


     STIPULATION                                                         CASE NO.: 5:20-CV-09340-NC
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 1         Pursuant to Civil Local Rules 6-1, 6-2, 16-9 and 16-10, Defendants Temujin Labs Inc., a

 2 Cayman Islands corporation (“Temujin Cayman”) and the Individual Defendants (collectively

 3 “Defendants”) and Plaintiff Ariel Abittan (“Plaintiff”) (Plaintiff and Defendants collectively

 4 “Parties”) by and through their respective counsel, stipulate and request as follows:

 5                                              RECITALS

 6         Pursuant to the Minute Entry for proceedings held before Magistrate Judge Nathanael M.

 7 Cousins (Dkt. No. 135), a further Case Management Conference was set in this case for August 24,

 8 2022 at 10:00 a.m. with a joint update due by August 17, 2022.

 9         Since that time, lead counsel for Defendants has been scheduled to be in trial on another

10 matter in Santa Clara County Superior Court on August 24, 2022. Hansen Decl. ¶ 2. Pursuant to

11 Civil Local Rule 16-10(a), lead trial counsel for each party must attend the initial Case Management

12 Conference.

13         As such, the Parties met and conferred and agreed: (1) to continue the Case Management

14 Conference from August 24, 2022 at 10:00 a.m. to September 7, 2022 at 1:00 p.m. and (2) that the

15 joint case management conference statement would be due by August 31, 2022. Hansen Decl. ¶ 3.

16         The Parties request that the Court enter an order confirming the terms of the stipulation

17 between the Parties. The Parties assert that the instant request is made in accordance with Civil L.R.

18 6-1(b) and 6-2(a).

19         Pursuant to Civil L.R. 6-2(a)(2), and aside from the time modifications described herein, the

20 following previous time modifications have been made in this case:

21         (1)     On March 5, 2021, the Court continued the Initial Case Management Conference

22                 set for March 17, 2021 to April 28, 2021 (Dkt. No. 22);

23         (2)     On March 25, 2021, Plaintiff, Temujin Labs Inc., a Delaware corporation (“Temujin

24                 DE”), and Temujin Cayman agreed to extend Temujin DE and Temujin Cayman’s

25                 deadline to respond to the original Complaint to April 6, 2021 (Dkt. No. 24);

26         (3)     On April 6, 2021, Plaintiff, Temujin DE, and Temujin Cayman agreed to extend the

27                 deadline for any defendant to respond to the original Complaint to April 30, 2021

28                 (Dkt. No. 31);


     STIPULATION                                  –1–                        CASE NO.: 5:20-CV-09340-NC
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 1         (4)     On April 21, 2021, the Court entered a Modified Order re 43 Stipulation Setting

 2                 Schedule and Extending Time to Respond. The Court continued the Case

 3                 Management Conference set for April 28, 2021 to July 7, 2021 (Dkt. No. 44);

 4         (5)     On June 10, 2021, pursuant to stipulation, the Court modified the briefing schedule

 5                 and hearing date on Defendants’ Motion to Dismiss (Dkt. No. 57);

 6         (6)     On June 28, 2021, the Clerk issued a Notice continuing the Case Management

 7                 Conference set for July 7, 2021 to July 28, 2021 (Dkt. No. 67);

 8         (7)     On July 19, 2021, the Clerk issued a Notice continuing the Case Management

 9                 Conference set for July 28, 2021 to October 6, 2021 (Dkt. No. 79);

10         (8)     On September 29, 2021, the Court ordered that the Case Management Conference be

11                 continued from October 6, 2021 to November 17, 2021, and that a Case Management

12                 Statement was due by November 10, 2021 (Dkt. No. 90);

13         (9)     On October 6, 2021, the Court entered an order modifying the briefing and hearing

14                 schedule on “Plaintiff’s Motion for an Order Allowing Defendants Lily Chao and

15                 Damien Ding to Be Served (1) Through Counsel…”, Dkt. No. 83 (Dkt. No. 96);

16         (10)    On November 15, 2021, the Court entered an order continuing the Case Management

17                 Conference from November 17, 2021 to December 8, 2021 at 10:00 a.m. and ordering

18                 that a Joint Case Management Statement was due by December 1, 2021 (Dkt. No.

19                 111);

20         (11)    On December 2, 2021, the Clerk continued the Initial Case Management Conference

21                 from December 8, 2021 to February 9, 2022 at 10:00 a.m. and ordered an updated

22                 Case Management Statement to be filed by February 2, 2022 (Dkt. No. 116);

23         (12)    On February 7, 2022, the Court continued the Case Management Conference from

24                 February 9, 2022 to March 2, 2022 at 10:00 a.m. (Dkt. No. 127); and

25         (13)    On February 24, 2022, the Clerk issued a Notice continuing the Case Management

26                 Conference to March 30, 2022 at 1:00 p.m. and ordered a joint update to be filed by

27                 March 23, 2022 (Dkt. No. 131).

28         Further, pursuant to Civil L.R. 6-2(a)(3), the requested time modification would not have a


     STIPULATION                                  –2–                      CASE NO.: 5:20-CV-09340-NC
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 1 prejudicial effect on the schedule for the case. Trial has not been set in the case, and no discovery

 2 has been conducted yet (the depositions of the Individual Defendants were stayed pursuant to the

 3 Court’s order on May 2, 2022, Dkt. No. 139). Hansen Decl. ¶ 4.

 4                                             STIPULATION

 5          The Parties therefore stipulate that the August 24, 2022 Case Management Conference shall

 6 be continued to September 7, 2022 at 1:00 p.m. and the Joint Case Management Statement shall be

 7 filed by August 31, 2022.

 8
      DATED: July 25, 2022                   HANSEN LAW FIRM, P.C.
 9

10
                                             By:               /s/ Craig A. Hansen
11                                                                 CRAIG A. HANSEN
12                                           Attorneys for Defendants
13
      DATED: July 25, 2022                   ROCHE FREEDMAN LLP
14

15
                                             By:         /s/ Constantine P. Economides
16                                                          CONSTANTINE P. ECONOMIDES
17                                           Attorneys for Plaintiff Ariel Abittan
18
            I hereby attest that I obtained consent in the filing of this document from each of the other
19
     signatories on this e-filed document.
20
      DATED: July 25, 2022                       HANSEN LAW FIRM, P.C.
21

22
                                                 By:      /s/ Craig A. Hansen
23                                                     CRAIG A. HANSEN

24
                                             ORDER
25          Pursuant to the above stipulation, and good cause appearing, IT IS SO
                                                                                      ISTRIC
                                                                                  ES D      T
26 ORDERED. Entered this 25th day of July, 2022.            TA
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                                                                UNIT




27                                                                 TED
                                                               GRAN Cousins
                                                    Hon. Nathanael
                                                                                                             R NIA




28                                                  United States Magistrate Judge
                                                                                                 . Cousins
                                                                NO




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                                                                          Judge Nat
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     STIPULATION                                    –3–                           D I S T IC T O NO.: 5:20-CV-09340-NC
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